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                      EXHIBIT 1




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12    Attorneys for Debtor
13                              UNITED STATES BANKRUPTCY COURT
14                                         DISTRICT OF NEVADA
15   In re:                                               CASE No. 24-13181-hlb
16                                                        Chapter 11
17   VARALUZ, LLC,
18                    Debtor.                             Hearing Date: November 6, 2024
                                                          Hearing Time: 2:30 p.m.
19

20
         ORDER APPROVING MOTION PURSUANT TO FED. R. BANKR. P. 9019 TO
21      AUTHORIZE AND APPROVE SETTLEMENT BETWEEN VARALUZ, LLC AND
        MEGED FUNDING GROUP CORP., MOSHE LUDMIR AKA MOSHE LUD, AND
22                            MARC ZIMBERG

23            Varaluz, LLC (“Debtor”), debtor and debtor in possession in the above-captioned Chapter 11

24   case, by and through its undersigned proposed counsel, Garman Turner Gordon LLP, filed the Motion

25   Pursuant to Fed. R. Bankr. P. 9019 to Authorize and Approve Settlement Between Varaluz, LLC

26   and Meged Funding Group Corp., Moshe Ludmir aka Moshe Lud, and Marc Zimberg (the

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 1   “Motion”),1 which came on for hearing before the above-captioned Court on November 6, 2024,
 2   at 2:30 p.m. All appearances were duly noted on the record.
 3              The Court reviewed the Motion and all matters submitted therewith. The Court considered
 4   the argument of counsel made at the time of the hearing and found that notice of the Motion was
 5   proper. The Court found that: (i) based on the entire record, the Debtor’s request for approval of
 6   the Settlement Agreement represents the exercise of his sound, properly informed, business
 7   judgment; (ii) the Settlement Agreement is in the best interest of the estate and satisfies the
 8   requirements of Bankruptcy Rule 9019; and (iii) the Settlement Agreement satisfies the factors set
 9   forth in In re A&C Properties, Inc., 784 F.2d 1377, 1381 (9th Cir. 1986). The Court stated its
10   additional findings of fact and conclusions of law on the record at the hearing on the Motion, which
11   are incorporated herein by this reference in accordance with Rule 52 of the Federal Rules of Civil
12   Procedure, made applicable pursuant to Rule 9014 of the Federal Rules of Bankruptcy Procedure.
13   Good cause appearing therefor;
14              IT IS HEREBY ORDERED AND DECREED AS FOLLOWS:
15              1.       The Motion is granted as set forth herein.
16              2.       The terms and conditions included in the Settlement Agreement between the Debtor
17   and Meged Funding Group Corp., Moshe Ludmir aka Moshe Lud, and Marc Zimberg in the form
18   attached as Exhibit 2 to the Motion is APPROVED and Debtor is authorized and directed to enter
19   into, to be bound by, and to carry out the transactions contemplated by such Settlement Agreement.
20              3.       This Court shall retain jurisdiction to enforce this Order and the terms of the
21   Settlement Agreements.
22   ...
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         Capitalized terms not otherwise defined herein shall have those meanings ascribed to them in the Motion.
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 1        IT IS SO ORDERED.
 2   PREPARED AND SUBMITTED:                       .
 3   GARMAN TURNER GORDON LP
 4

 5   By: /s/
         TALITHA GRAY KOZLOWSKI, ESQ.
 6       TERESA M. PILATOWICZ, ESQ.
         7251 Amigo Street, Suite 210
 7       Las Vegas, Nevada 89119
 8       Attorneys for Debtor

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 1                                   LR 9021 CERTIFICATION
 2          In accordance with LR 9021, counsel submitting this document certifies that the order
     accurately reflects the court’s ruling and that (check one):
 3

 4                         The court waived the requirement of approval under LR 9021(b)(1).

 5                         No party appeared at the hearing or filed an objection to the motion.

 6                         I have delivered a copy of this proposed order to all counsel who appeared
                           at the hearing, and any unrepresented parties who appeared at the hearing,
 7                         and each has approved or disapproved the order, or failed to respond, as
 8                         indicated above.

 9
                           I certify that this is a case under Chapter 7 or 13, that I have served a copy
10                         of this order with the motion pursuant to LR 9014(g), and that no party has
                           objection to the form or content of the order.
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